

BatBrothers, LLC v Paushok (2022 NY Slip Op 03172)





BatBrothers, LLC v Paushok


2022 NY Slip Op 03172


Decided on May 12, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 12, 2022

Before: Gische, J.P., Scarpulla, Mendez, Shulman, Higgitt, JJ. 


Index No. 150122/15 Appeal No. 15935 Case No. 2021-03528 

[*1]BatBrothers, LLC, Plaintiff-Respondent,
vSergey Viktorovich Paushok, Defendant-Appellant.


Wuersch &amp; Gering, LLP, New York (Kevin Murphy of counsel), for appellant.
Holland &amp; Knight LLP, New York (Mitchell J. Geller of counsel), for respondent.



Order, Supreme Court, New York County (Andrew Borrok, J.), entered July 14, 2021, which denied defendant's motion to vacate a judgment against him entered June 19, 2019, on the ground of fraud (CPLR 5015[a][3]), unanimously affirmed, with costs.
Defendant's motion to vacate the judgment was properly denied, as it rests on previously advanced arguments that the motion court and this Court rejected (Pritsler v Zamansky LLC, 2019 WL 6973813 [Sup Ct, NY County 2019], affd 198 AD3d 518 [1st Dept 2021]; Matter of Citigroup Global Mkts, Inc. v Fiorilla, 178 AD3d 567 [1st Dept 2019]). Moreover, some of those arguments address the merits of the judgment obtained against defendant in the Russian courts and recognized here pursuant to CPLR article 53, and are thus misplaced in the context of this article 53 proceeding, which is "limited to the ministerial function of recognizing the foreign country money judgment and converting it into a New York judgment" (Batbrothers LLC v Paushok, 172 AD3d 529, 530 [1st Dept 2019] [internal quotation marks omitted], lv denied 35 NY3d 902 [2020]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 12, 2022








